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                                 UNITED STATES DISTRICT
                             COURT FOR THE WESTERN
                             DISTRICT OF VIRGINIA
                                   Charlottesville Division




     ELIZABETH SINES, et. al

                                  Plaintiffs,

     v.

     JASON KESSLER, et. al                            Civil Action No. 3:17-cv-00072-NKM
                                Defendants.




           DEFENDANT JEFF SCHOEP’S MOTION TO ALTER OR AMEND
                 JUDGEMENT PURSUANT TO FRCP RULE 59


            COMES NOW Defendant Jeff Schoep, by and through counsel, pursuant to

     Fed. R. Civ. P. 59(e), moves this honorable Court to alter or amend its judgment

     granting punitive damages, see ECF 1478, due to the manifest injustice which would

     result from the implementation of such order as written. Upholding the judgement of

     punitive damages at a ratio of 500,000 to 1 would be in violation of the Constitution’s

     Due Process Clause and the Supreme Court’s holding in State Farm Mutual

     Automobile Insurance Co. v. Campbell, 538 U.S. 408. The Supreme Court held that

     “few awards exceeding a single-digit ratio between punitive and compensatory

     damages will satisfy due process. See, e.g., 517 U.S., at 581. Single-digit multipliers
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     are more likely to comport with due process, while still achieving the State's

     deterrence and retribution goals,” State Farm Mut. Automobile Ins. Co. v. Campbell,

     538 U.S. 408, 410 (2003). It was concluded “that an award of more than four times

     the amount of compensatory damages might be close to the line of constitutional

     impropriety.” State Farm Mut. Automobile Ins. Co. v. Campbell, 538 U.S. 408, 425

     (2003). "If a punitive damages award is unconstitutionally excessive, it is [the court's]

     obligation to order a remittitur or award a new trial." EEOC v. Fed. Express Corp.,

     513 F.3d 360, 376 (4th Cir. 2008). Accordingly, the defendant asks this Court to alter

     or amend the judgment under Rule 59(e) and reduce the award of punitive damages to

     an amount that this Court believes is constitutional.


            The judgement of punitive damages award was not based on an "application of

     law" but rather a "decisionmaker's caprice" in violation of the Due Process Clause of

     both the Fifth and Fourteenth Amendment. BMW of N. Am., Inc. v. Gore, 517 U.S.

     559, 587 (1996). Gore and its progeny share the concern that punitive damages retain

     some reasonable relationship to actual harm. See, e.g., State Farm Mutual Automobile

     Ins. Co. v. Campbell, 538 U.S. 408, 416 (2003) (due process prohibits “the imposition

     of grossly excessive or arbitrary punishments”); BMW of North America Inc. v. Gore,

     517 U.S. 559, 574–75 (1996) (“the $2 million award against BMW is grossly

     excessive”). These cases identify three factors or guideposts that a court must

     consider in determining whether punitive damages are proportional: “the degree of the

     defendant’s reprehensibility or culpability; the relationship between the penalty and




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     the harm to the victim caused by the defendant’s actions; and the sanctions imposed in

     other cases for comparable misconduct.” Cooper Industries v. Leatherman Tool

     Group, Inc., 532 U.S. 424, 435 (2001) (internal citations omitted) (collecting cases).

     In assessing a defendant’s reprehensibility, courts consider whether: “the harm caused

     was physical as opposed to economic; the tortious conduct evinced an indifference to

     or a reckless disregard of the health or safety of others; the target of the conduct had

     financial vulnerability; the conduct involved repeated actions or was an isolated

     incident; and the harm was the result of intentional malice, trickery, or deceit, or mere

     accident.” Campbell, 538 U.S. at 419. The first three factors support the defendant in

     this case: there was no physical or economic harm to the plaintiffs due to the actions

     of the defendant; for the same reason, the health or safety of the plaintiffs was not

     involved in any way; and the plaintiffs, were not directly financially vulnerable. The

     fourth factor supports the plaintiffs in that the defendant was found to have some

     engagement in a civil conspiracy, but supports the defendant in that there was no

     evidence of conspiratorial behavior continuing after the plaintiffs sued him. The fifth

     factor supports the plaintiffs in that the jury found the defendant to be willful, but

     supports the defendant in that this was only a finding of knowledge of an event, which

     then by default Defendant Schoep was found to be part of a civil conspiracy, and not

     one of “malice, trickery, or deceit.”


            “The second and perhaps most commonly cited indicium of an unreasonable

     or excessive punitive damages award is its ratio to the actual harm inflicted on the

     plaintiff.” Gore, 517 U.S. at 580. In this case, the plaintiffs did not prove any actual


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     harm directly caused by Defendant Schoep at all. But a charitable estimate of

     Plaintiffs Romero, Muniz, Baker, Blair, Martin, Alvarado and Willis’, actual harm

     caused by a civil conspiracy was $1. The punishment ratios in this case, using these

     estimates of actual harm, would be 500,000 to 1 which is well above the single-,

     double-, or, rarely, triple-digit multiples that the courts have approved. Cf. Gore, 517

     U.S. at 580–83 (discussing such ratios); State Farm, 538 U.S at 424–25 (same). For

     Plaintiffs Sines and Wispelwey actual harm caused was found to be zero. Research

     has revealed no case where a federal court has awarded punitive damages when no

     nominal, actual, or equitable relief was granted. Virginia law requires that “a finding

     of compensatory damages is a prerequisite to an award of exemplary damages.” Zedd

     v. Jenkins, 194 Va. 704, 706-07 (Va. 1953).


             Twice, the Supreme Court has held that a defendant can be punished only for

     the acts that are the subject of the lawsuit. In Campbell, a Utah jury and the Utah

     Supreme Court punished State Farm for its nationwide policies in general, not its

     conduct against the particular plaintiff in that case, Campbell. See 538 U.S. at 422–23.

     The Court held that this was unconstitutional in a passage worth quoting:

            A defendant’s dissimilar acts, independent from the acts upon which
            liability was premised, may not serve as the basis for punitive
            damages. A defendant should be punished for the conduct that
            harmed the plaintiff, not for being an unsavory individual or
            business. Due process does not permit courts, in the calculation of
            punitive damages, to adjudicate the merits of other parties’
            hypothetical claims against a defendant under the guise of the
            reprehensibility analysis, but we have no doubt the Utah Supreme
            Court did that here. Punishment on these bases creates the
            possibility of multiple punitive damages awards for the same
            conduct; for in the usual case nonparties are not bound by the
            judgment some other plaintiff obtains. Id.




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     The Court made the same point in Phillip Morris USA v. Williams, 549 U.S. 346, 353

     (2007), where it held that “the Constitution’s Due Process Clause forbids a State to

     use a punitive damages award to punish a defendant for injury that it inflicts upon

     nonparties or those whom they directly represent, i.e., injury that it inflicts upon those

     who are, essentially, strangers to the litigation.” If a defendant cannot be punished for

     its own dissimilar acts and if a plaintiff cannot collect punitive damages imposed for

     harm done to other, different plaintiffs, then, a fortiori, a defendant cannot be

     punished for the acts of other potential defendants not before the court. But that is

     what happened in this case: the plaintiffs’ evidence did not relate to the harm caused

     by this defendant, but rather to the harm caused by other defendants as a class.

     Punishing this defendant for the harm that other defendants and others who are not

     defendants in this case caused is as unconstitutional as was punishing the defendant in

     State Farm for the harm that it caused to those who were not plaintiffs in that case.

     This award violates the Due Process Clause as it bears no reasonable relationship to

     the actual damages caused by Defendant Schoep. The court is not permitted to fine

     excessively merely because the defendant was a white nationalist.


            Consideration of the particular facts and circumstances of the case at bar must

     be given in order to determine the proper amount of punitive damages to award. State

     Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 425, 123 S. Ct. 1513, 155 L. Ed.

     2d 585 (2003). In Ulbrich v. Groth, 310 Conn. 375 (2013), the Connecticut Supreme

     Court directed courts to consider the factors discussed by the U.S. Supreme Court in

     Exxon Shipping in determining whether the amount awarded was a proper exercise of

     its discretion. Id. at 454; see also NRT New England, LLC v. Longo, 2019 WL

     2306677, at *14 (Conn. Super. Ct. Apr. 17, 2019) (considering Ulbrich factors in


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     awarding punitive damages). Among the factors to be consider are “the degrees of

     relative blameworthiness”, i.e. whether the defendant’s conduct was reckless,

     intentional or malicious; whether the defendant’s action was taken or omitted in order

     to augment profit; whether the wrongdoing was hard to detect; whether the injury and

     compensatory damages were small, providing a low incentive to bring the action; and

     whether the award will deter the defendant and others from similar conduct without

     financially destroying the defendant. Ulbrich, 310 Conn. at 454 citing Exxon Shipping,

     554 U.S. at 493-494. Neither Ulbrich, nor Exxon Shipping direct that any one factor

     be dispositive. Rather, Ulbrich directs that the foregoing factors be weighed in the

     Court’s determination. Murillo v. A Better Way Wholesale Autos., Inc., 2019 WL

     3081062, at *8 (Conn. Super. Ct. Jul. 15, 2019). Here, consideration of these factors

     do not support a large award. There was no evidence presented at trial that the specific

     conduct of Defendant Schoep was for malicious purposes specifically designed to

     harm Plaintiffs. Ultimately, Plaintiffs could not prove any damages against Defendant

     Schoep and, thus, this factor does not weigh in favor of a large award.


            It has long been the rule that punitive damages must be reasonable, given their

     purpose to punish what has occurred and to deter its repetition. Vasbinder, 976 F.2d at

     121. “Accordingly, an award should not be so high as to result in financial ruin of the

     defendant.” Id. “As the name implies, punitive damages are intended to punish and

     deter; they are not intended to be an economic death sentence. Over-deterrence in the

     form of punitive damages is inconsistent with the concept of reform as opposed to

     cessation of conduct.” In re Exxon Valdez, 236 F. Supp. 2d 1043, 1065 (D. Alaska


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     2002), vacated and remanded on other grounds (Aug. 18, 2003) (finding $5,000.00

     award of punitive damages against captain of Exxon Valdez sufficient for deterrence

     purposes given his financial condition). Thus, while the nature of a defendant’s

     conduct is germane to the award, even outrageous conduct will not support an

     oppressive or patently excessive award. Id.


                 “The court may intervene and set aside a verdict when the amount of the

     award is so excessive that it shocks the judicial conscience or it appears that it is the

     result of passion and prejudice.” Brink's Inc. v. City of New York, 546 F. Supp. 403,

     413 (S.D.N.Y. 1982) During trial proceedings this court deemed testimony of

     Defendant Schoep’s renunciation of white supremacy “could be relevant on the issue

     of punitive damages”. Trial Tr 188:8-9, Nov. 12, 2021. It was made expressly clear

     that testimony regarding the defendant’s change of beliefs and current work was

     admissible under limited circumstances “for the sole and limited purpose of

     determining the proper amount of punitive damage, if any.” Trial Tr. 17:18-20, Nov.

     15, 2021. Even so, Plaintiffs’ counsel was relentless in their efforts to strike any

     mention of Defendant Schoep’s renunciation of white supremacist beliefs or the

     “genuine efforts to remediate the relevant conduct”1 from the record.         Plaintiffs’

     counsel intentional suppression of such testimony severely prejudiced the defendant.

     Had Plaintiffs’ counsel allowed testimony of the defendant’s current work2 to be

     heard, the jury would have been better equipped to “determine the proper amount of

     punitive damage, if any, only against Defendant Schoep.” Trial Tr. 17:19-21, Nov. 15,
     1
         ECF 1429 at 2 ¶ 3
     2
         See Exhibit A



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     2021. (“because punitive damages are to teach a person a lesson so they won’t do it

     again.” Trial Tr. 188:9-11, Nov. 12, 2021.) This prejudice is evidenced by the blanket

     judgement of $500,000 punitive damages award against all individual defendants.


            In conclusion, the defendant asks this Court to alter or amend the judgment

     under Rule 59(e) and reduce the award of punitive damages to an amount that this

     Court believes is constitutional.



     Dated: March 3, 2022


                                              Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

        I hereby certify that on March 3, 2022, I filed the foregoing with the Clerk of
     Court through the CM/ECF system, which will send a notice of electronic filing to:

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